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Anne Archer Butcher, dated September 8, 2010.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a document produced in

this litigation bearing Bates numbers AAB00002895-AAB00002897, which reflects an email chain

including Anne Archer Butcher, Katie Mapel, and Sheila Marcello, dated October 26, 2010.

       5.      Attached hereto as Exhibit 4 is a true and correct copy of a document produced in

this litigation bearing Bates numbers TTO_001113-TTO_001115, which reflects an email chain

including Jonathan Allen, Hope Hicks, and Rhona Graff, dated February 19 - March 7, 2016.

       6.      Attached hereto as Exhibit 5 is a printout of a chart produced in Excel format by

ACN in this litigation bearing Bates number ACN004197, reflecting “

     ” and true and correct copy of a chart produced by ACN in this litigation bearing Bates number

ACN000686 reflecting payments made by ACN to Donald J. Trump.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of a document produced in

this litigation bearing Bates numbers TTO_007616-TTO_007627, reflecting excerpts of the

August/September 2008 issue of SUCCESS magazine.

       8.      Attached hereto as Exhibit 7, is a set of true and correct copies of excerpts from the

deposition transcripts of ACN’s Rule 30(b)(6) designee David Merriman, ACN’s outside marketing

consultant, Anne Archer Butcher, and ACN co-founder and chairman Robert Stevanovski.

       9.      Attached hereto as Exhibit 8, is a set of true and correct copies of excerpts from the

deposition transcripts of Donald J. Trump, The Trump Corporation’s 30(b)(6) designee Eric Trump,

and Ivanka Trump.

       10.     Attached hereto as Exhibit 9, is a set of true and correct copies of excerpts from the

deposition transcripts of former Trump employees Rhona Graff, Amanda Miller, Meredith McIver,

and Cathy Glosser.

       11.     Attached hereto as Exhibit 10, is a set of true and correct copies of excerpts from

the deposition transcripts of Plaintiffs Cathy McKoy, Lynn Chadwick, and Markus Frazier.
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       12.      Attached hereto as Exhibit 11, are true and correct copies of excerpts of the expert

reports of Dr. Kevin Keller, Dr. Stacie Bosley, and Mr. Michael Gartenberg, and excerpts from the

deposition transcripts of Dr. Joseph Hair and Mr. Mark Crandon.

       13.      Attached hereto as Exhibit 12 is a true and correct copy of an excerpt of a document

produced in this litigation bearing Bates numbers ACN023052-ACN023087, reflecting an ACN

Welcome Booklet issued to IBOs.

       14.      Attached hereto as Exhibit 13 is a true and correct copy of a document produced in

this litigation bearing Bates numbers ACN002812 - ACN002813, reflecting an email chain including

Anne Archer Butcher, Katie Mapel, and Sheila Marcello, dated May 2 - 4, 2012.

       15.      Attached hereto as Exhibit 14 is a true and correct copy of documents produced in

this litigation bearing Bates number ACN015382 and ACN021232, which reflect ACN emails to

IBOs dated October 31, 2006 and March 12, 2008.

       16.      Attached hereto as Exhibit 15, is a slipsheet for a true and correct copy of a video

provided to chambers electronically and in hardcopy that was produced in this litigation bearing Bates

number JMB00003824.094_1104_L10JA, and which reflects unaired footage of The Celebrity

Apprentice.



       I declare under penalty of perjury that the foregoing is true and correct.




 Dated: June 16, 2023                                       /s/ Christopher R. Le Coney
        New York, New York                                    Christopher R. Le Coney
